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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 CESAR L. ROJO,

      Plaintiff,
                                                      Honorable Robert W. Gettleman
 v.
                                                      Case No. 1:18-cv-08103
 CODILIS & ASSOCIATES, P.C.,

      Defendant.

                                   INITIAL STATUS REPORT

        Pursuant to Fed. R. Civ. P. 26(f) and this Court’s Case Procedures, the parties submit the

following Initial Status Report.

A.      The date and time this matter is set for a status report before the Court.

        March 14, 2019 at 9:00 a.m.

B.      The attorneys of record for each party, including which attorney is expected to try

        the case.

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          Mohammed O. Badwan                           Louis J. Manetti, Jr.
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          Counsel for Cesar L. Rojo                    Counsel for Codilis & Associates, P.C.

C.      The basis for federal jurisdiction.

        Subject matter jurisdiction is conferred over Plaintiffs’ Fair Debt Collection Practices Act
        (“FDCPA”) claims by 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).


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D.    Whether a jury has been requested and by which party.

      A jury has been requested by Plaintiff.

E.    The nature of the claims asserted in the complaint and any counterclaim, including a

      brief statement of the factual context of the case, along with a description of any

      affirmative defenses.

              1.     Plaintiff: Plaintiff alleges Defendant violated 15 U.S.C. § 1692e(5) by
                     threatening sheriff’s sale of Plaintiff’s personal residence at time it was not
                     legally possible – as Plaintiff made payments towards pre-petition default
                     through Chapter 13 bankruptcy at same time as remaining current on post-
                     petition payments to JPMorgan Chase Bank, N.A. Plaintiff further alleges
                     Defendant violated 15 U.S.C. §§ 1692e(5) by mailing Notice of Sale,
                     implying that sheriff’s sale will proceed in spite of Plaintiff paying amount
                     required to cure pre-petition default through Chapter 13 bankruptcy at same
                     time as remaining current on post-petition payments to JPMorgan Chase
                     Bank, N.A.

              2.     Defendant: Defendant denies that it is liable to the plaintiff for any violation
                     of the FDCPA, and has alleged the affirmative defenses of lack of standing
                     and bona fide error.

F.    The relief sought by any party, including computation of damages, if available.

      Plaintiff: As a result of Defendant’s alleged violation(s) of 15 U.S.C. § 1692 et seq.
      Plaintiff is seeking (i) any actual damage, (ii) such additional damages as the court may
      allow, but not exceeding $1,000.00, and (iii) the costs of the action, together with
      reasonable attorney’s fees as determined by the court.

      Defendant: Defendant seeks its attorney’s fees and costs pursuant to 15 U.S.C. §
      1692k(a)(3), if a determination is made that this action was brought in bad faith and for the
      purpose of harassment.

G.    The name of any party who or which has not been served, and any fact or

      circumstance related to non-service of process on such party.

      None.

H.    The principal legal issues.

      (1) Whether Defendant threatened to take any action that could not legally be taken or that
      was not intended to be taken? (2) Whether Defendant used false representations or

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      deceptive means to collect or attempt to collect any debt? (3) Whether Plaintiff suffered a
      concrete injury? (4) Whether any violation of the FDCPA was the result of a bona fide
      error despite procedures and policies reasonably adapted to avoid such an error.

I.    The principal factual issues.

      (1) Whether Plaintiff paid amount required to cure pre-petition default through Chapter 13
      bankruptcy? (2) Whether Plaintiff remained current on post-petition mortgage payments
      during Chapter 13 bankruptcy case? (3) Whether Plaintiff sustained damages?

J.    A brief description of all anticipated motions.

      None.

K.    A proposed discovery plan pursuant to Fed. R. Civ. P. 26(f), including a brief

      description of what discovery has been taken, if any, what remains to be taken, a

      schedule for expert designations and discovery, and a proposed discovery cutoff.

      1.      The general type of discovery needed;

              Oral and written.

      2.      A date to issue written discovery;

              May 9, 2019.

      3.      A date for the deadline for the amendment of pleadings;

              July 8, 2019.

      4.      A fact discovery completion date;

              September 6, 2019.

      5.      An expert discovery completion date;

              Expert discovery will not likely be required.

      6.      Electronically stored information.

              The Parties do not believe that this case is suitable for electronic discovery, but are
              amenable to producing any electronically stored information in hard copy or in .pdf
              format as an initial matter. Once the Parties have had the opportunity to review
              such documents, the parties agree, if necessary, to confer regarding any additional
              exchange or production that the parties believe is necessary.

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L.    The earliest date the parties will be ready for trial and the length of the trial;

      January 20, 2020 is the earliest date the parties will be ready for trial. The parties expect
      the length of the trial to be 2-3 days.

M.    The status of any settlement discussions and whether a settlement conference would

      be appropriate.

      Plaintiff and Defendant are engaged in settlement discussions and will continue to work in
      good faith to resolve the dispute between them.

N.    Whether the parties will consent to trial before a magistrate judge;

      The parties do not consent to trial before a magistrate judge.

Date: March 6, 2019                                Respectfully submitted,

/s/ Joseph S. Davidson                             /s/Louis J. Manetti, Jr. (with consent)

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